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                               EXHIBIT 3
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                                                         Washington
                                                         700 13th Street NW, 10th Floor
                                                         Washington, DC 20005
                                                         (202) 777-
                                                         Eric.mahr@freshfields.com
                                                         www.freshfields.com


                                                         August 17, 2023


  Re:    United States, et al. v. Google LLC, No. 1:23-CV-00108 (E.D. Va.)

  Dear Mr. Kanter,

           Enclosed is a subpoena for deposition testimony and for documents that has been served
  on you. This subpoena is served on you in your individual capacity, and is not served on you in
  your capacity as Assistant Attorney General for the Antitrust Division of the Department of
  Justice.

         Treatment of discovery materials in this litigation is governed by the Protective Order,
  the Order regarding Electronically Stored Information, and the Coordination Order entered by
  the court. A copy of each Order is included with this subpoena.

         Please note that the deposition date and production deadline for the subpoena is
  September 8, 2023. The subpoena contains instructions for the deposition location and the place
  of production of responsive documents. If you would like to discuss an alternative method or
  place of production (such as via email or FTP), or have any other questions regarding the
  subpoena, please feel free to reach out to me at (202) 777-    or eric.mahr@freshfields.com.



                                                              Yours truly,




                                                              Eric Mahr
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AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                            Exhibit A
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               United States, et al. v. Google LLC, No. 1:23-CV-00108 (E.D. Va.)

                                      Exhibit A to Subpoena

                                        INSTRUCTIONS

                 1.    In addition to the specific instructions set forth below, these Requests

        incorporate the instructions set forth in Federal Rule of Civil Procedure 45 (“Federal

        Rules”), the Local Rules of the U.S. District Court for the Eastern District of Virginia

        (“Local Rules”), the Order Regarding Electronically Stored Information (“ESI Order”)

        (ECF No. 142), and the Protective Order (ECF No. 203), or the operative version of those

        Orders in place at the time production is made. Subject to a valid claim of privilege, please

        produce the entire document if any part of that document is responsive.

                 2.    Please produce all requested documents in Your possession, custody, or

        control, or available to You, or to which You may gain access through reasonable effort,

        including information in the possession of Your past and present attorneys, accountants,

        investigators, consultants, agents, or other persons directly or indirectly employed or

        retained by You, or anyone else otherwise subject to Your control who maintains records

        on Your behalf, in Your name, or otherwise under Your control.

                 3.    Pursuant to Federal Rule 45(e)(1), documents must be produced either: (a)

        as they are kept in the usual course of business (in which case they must be produced in

        such fashion as to identify the department, branch, or office in whose possession the

        document was found or the server or central file in which it was found, and the address of

        each document’s custodian(s)), or (b) segregated as responsive to a specific Request

        enumerated herein, with such specific Request identified.




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                 4.    If any portion of any document is responsive to any Request, a legible

        version of the entire document must be produced, together with all non-identical copies,

        versions, and drafts of that document, including all attachments and enclosures.

                 5.    You must retain all of the original documents for inspection or copying

        throughout the pendency of this Action, any appeal(s), and any related proceedings.

                 6.    You must produce all documents and associated metadata according to the

        Federal Rules, Local Rules, and, when entered, the governing ESI Order for this Action.

        Provide instructions and all other materials necessary to use or interpret Your data

        compilations, such as a data dictionary, with Your production.

                 7.    Data and materials that are stored electronically or in machine-readable

        form should be produced in electronic form with sufficient information to allow counsel to

        readily access or read such data or materials.

                 8.    If you object to all or any portion of any of the below Requests, you must

        identify the objectionable Request or portion thereof, and the nature and basis of the

        objection. Notwithstanding any objection to any portion of any Request, you must produce

        all documents and information to which such objection does not apply.

                 9.    If any document responsive to a particular Request no longer exists for

        reasons other than Your document retention policy, describe the circumstances under

        which it was lost or destroyed, describe the information lost or destroyed, list the Request

        to which it was responsive, and list persons with knowledge of the document.

                 10.   If you are unable to produce a document that is responsive to a Request,

        describe the document, state why it cannot be produced and, if applicable, state the

        whereabouts of such document when last in your possession, custody, or control.




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                 11.   If there are no documents or information responsive to all or any portion of

        any Request, so state in writing.

                 12.   Other than redactions of privileged information, documents are to be

        produced in full. If any requested document cannot be produced in full, or if you withhold

        production of any document or portion of any document responsive to these Requests based

        upon any privilege, protection, or immunity, produce it to the extent possible and provide

        the privilege log information set forth in the governing ESI Order, once entered.

                 13.   In construing the Requests herein:

               a. Terms not specifically defined shall be given their ordinary meaning as You

                  understand them to be used in the trade;

               b. The use of a verb in any tense, mood, or voice shall be construed as the use of

                  the verb in all other tenses, moods, or voices, whenever necessary, to bring

                  within the scope of any Request all information that might otherwise be

                  construed to be outside its scope;

               c. The use of the singular form of any word includes the plural and vice versa;

               d. Words in the masculine, feminine, or neutral gender shall include each of the

                  other genders;

               e. The connectives “and” and “or” shall be construed either disjunctively or

                  conjunctively as necessary to bring within the scope of the Request all responses

                  that might otherwise be construed to be outside of its scope;

               f. The terms “all,” “any,” and “each” shall each be construed as encompassing any

                  and all.




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                       14.   None of the Definitions or Requests set forth herein shall be construed as

              an admission relating to the existence of any evidence, to the relevance or admissibility of

              any evidence, or to the truth or accuracy of any statement or characterization in the

              Definitions or the Requests.

                       15.   These Requests are continuing in nature. In the event that You become

              aware of responsive documents or information in addition to, or in any way inconsistent

              with, that which You previously have produced, prompt supplementation of Your

              responses is required.

                       16.   Google specifically reserves the right to seek supplementary responses and

              the additional supplementary production of documents before trial.


                                               DEFINITIONS

               1.    To the extent the terms defined below are used in the Topics, they should be

   construed broadly to the fullest extent of their meaning in a good-faith effort to comply with the

   Federal Rules and the Local Rules. These Definitions are provided solely for the purposes of this

   Subpoena.

               2.    The term “Antitrust Division” shall refer to the Antitrust Division of the United

   States Department of Justice.

               3.    The term “Communication” shall refer to the transmittal of information (in the

   form of facts, ideas, inquiries or otherwise) via electronic and non-electronic means, including

   both written and verbal correspondence, such as, e.g., e-mails, meetings, telephone calls, and

   letters.

               4.    The term “Document” shall be synonymous in meaning and equal in scope to the

   usage of the phrase “documents or electronically stored information” in Federal Rule 34(a)(1)(A).


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   For avoidance of doubt, a draft or non-identical copy is a separate document within the meaning

   of this term, and electronic communications, such as e-mails, are covered within the meaning of

   this term.

            5.    The term “Foreign Regulator” shall refer to government agencies located outside

   of the United States whose powers include investigating and charging potential antitrust violations,

   including but not limited to the European Commission, the United Kingdom’s Competition and

   Markets Authority, France’s Autorité de la Concurrence, and the Australian Competition and

   Consumer Commission.

            6.    The term “Former Client” shall refer to any of




                                      , including any parents, predecessors, successors, divisions,

   subsidiaries, affiliates, partnerships and joint ventures, or any directors, officers, employees,

   agents, or representatives of the foregoing.

            7.    The term “July 2020 Meeting” shall refer to any meeting occurring in or around

   July or August 2020 concerning Google and/or “scale issues,” attended by You, Susan Athey,

   and/or employees of the Antitrust Division.

            8.    The terms “You” and “Your” shall refer to Jonathan Kanter.


                                  REQUESTS FOR DOCUMENTS

            1.    All Communications concerning Google that You have had with any Former Kanter

   Client since You were nominated as Assistant Attorney General for the Antitrust Division on July


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   20, 2021, including any such Communications made through any other Department of Justice

   employee.

           2.     All Communications concerning Google that You had with any employee of the

   Antitrust Division, the U.S. Federal Trade Commission, the Office of the Texas Attorney General

   or of any other State Attorney General, or any Foreign Regulator, on Your own behalf or on behalf

   of any Former Client, between January 1, 2007 and the date of Your confirmation as Assistant

   Attorney General for the Antitrust Division on November 16, 2021.

           3.     Any materials presented, or provided to any attendees, during any meeting

   concerning Google attended by You and any employee of the Antitrust Division, for meetings held

   between January 1, 2019 and the date of Your confirmation as Assistant Attorney General for the

   Antitrust Division on November 16, 2021, specifically including, but not limited to, any materials

   that You and/or Susan Athey presented, provided to attendees, or planned to present or provide to

   attendees at the July 2020 Meeting.




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